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               IN THE UNITED STATES BANKRUPTCY COURT
                    WESTERN DISTRICT OF MISSOURI
In re: ANDREA BRICHEL ROSS

                                                                Case No.: 22-50198-btf-13

                              Debtor


                         MOTION TO DENY CONFIRMATION OF PLAN

    COMES NOW Richard V. Fink, Chapter 13 Trustee, and requests the court deny confirmation of the
proposed plan (document #42), filed on or about February 21, 2023. In support thereof, the trustee states
that the issues related to the proposed plan include:

   1. 11 U.S.C. Section 1325(a)(6):

           The debtor has made approximately two and one-half payments out of five through
           December 2022. The debtor is delinquent in plan payments in the amount of $2,295. It
           does not appear the debtor will be able to make all payments under the plan and comply
           with the plan.

   2. 11 U.S.C. Section 1325(a)(9):

           The Internal Revenue Service has filed an amended Proof of Claim indicating that tax
           returns for 2018 and 2020 have not been filed.


   WHEREFORE, the Chapter 13 Trustee moves the Court for an Order Denying Confirmation of the
proposed plan.


                                                    Respectfully submitted,
       March 01, 2023
                                                    /s/ Richard V. Fink, Trustee

                                                    Richard V. Fink, Trustee
                                                    2345 Grand Blvd., Ste. 1200
                                                    Kansas City, MO 64108-2663
                                                    (816) 842-1031
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                                                    NOTICE OF MOTION

Any response to the motion must be filed within twenty -one (21) days of the date of this notice (subject to an extension
pursuant to Federal Rule of Bankruptcy Procedure 9006 ) with the Clerk of the United States Bankruptcy Court .
Documents can be filed electronically at http://ecf .mowb.uscourts.gov. A copy of such response shall be served electronically
by the Court on the Chapter 13 Trustee and all other parties to the case who have registered for electronic filing . Parties not
represented by an attorney may mail a response to the Court at the address below . If a response is timely filed, the Court will
either rule the matter based on the pleadings , or set the matter for a hearing. If a hearing is to be held, notice of such hearing
will be sent to all parties in interest . If no response is filed within twenty-one (21) days (subject to an extension pursuant
to Federal Rule of Bankruptcy Procedure 9006 ), the Court will enter an Order denying confirmation of the plan . For
information about electronic filing, go to http://www.mow.uscourts.gov. If you have any questions about this document ,
contact your attorney.

Court Address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106


                                                    NOTICE OF SERVICE

The following parties will be served either electronically or by United States First Class Mail . If any party is served by United
States First Class Mail a certificate of service will be filed thereafter:

DEBTOR(S)
WAGONER BANKRUPTCY GROUP (206) - ATTORNEY FOR DEBTOR(S)

                                                                 /s/ Richard V. Fink, Trustee


                                                                                                   RB     /Motion - Deny Confirmation
